














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-70,512-01






EX PARTE RONNIE NEAL








ON NOTICE OF NO APPLICATION FOR WRIT OF HABEAS CORPUS


FILED IN CAUSE NO. 2005-CR-0698


IN THE 226TH JUDICIAL DISTRICT COURT


BEXAR COUNTY






	Per Curiam.  



O R D E R



	This case is before us because no application for writ of habeas corpus has been filed
pursuant to the provisions of Texas Code of Criminal Procedure Article 11.071. (1)

	On May 1, 2006, the trial court appointed Suzanne Kramer to represent applicant in
a post-conviction writ of habeas corpus under Article 11.071.  On November 26, 2007, the
State filed in this Court its brief on applicant's direct appeal.  Pursuant to Article 11.071, §
4(a), counsel should have filed applicant's application for writ of habeas corpus in the
convicting court no later than January 10, 2008.  If a motion for extension was timely filed
and granted, then applicant's application would have been due in the convicting court no
later than April 9, 2008.  Art. 11.071, § 4(b).   

	In August 2008, it was brought to the attention of this Court that no application had
been filed on applicant's behalf.  Pursuant to Article 11.071, § 4A, because it was well past
the statutory due date and no application had been filed, we ordered Kramer to file an
affidavit with this Court setting out good cause for her failure to timely file the application. 
In her affidavit, counsel basically admits that she misunderstood the law, and that her
misunderstanding resulted in the current situation.  However, we find that the magnitude of
counsel's misunderstanding is inexcusable and does not show good cause.  Counsel is in
contempt of Court.  Within 30 days of the date of this order, Suzanne Kramer is ordered to
pay to this Court a fine in the amount of $ 250.00.  Further, although the trial court informed
this Court that no payments have been made to counsel for any work done in connection with
the filing of a writ application in this case, we hold that, should Bexar County have any
outstanding claims from Kramer for attorney's fees in this case, they shall not be paid.  

	Jay Brandon is appointed to represent applicant and to file a writ of habeas corpus on
applicant's behalf.  Counsel is ordered to file the application in the trial court on or before
the 270th day from the date of this order.   

	IT IS SO ORDERED THIS THE 1ST DAY OF OCTOBER, 2008.

Do Not Publish
1.   Unless otherwise indicated all references to Articles refer to the Code of
Criminal Procedure.


